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April 12, 2024

To Whom It May Concern:

Walter Norton is a friend of mine, | truly enjoy spending my time with Walter. We have been
friends for five years and frequently spend time together. Anytime I have been in the company
of Walter he has always been polite, respectful and was never involved in any trouble. Walter
didn't do drugs or drink alcohol. He was also an excellent and well-disciplined athlete when
growing up. He has a very humble personality and is overall a quite respectful person. In all
the times | have hosted him at my home or made plans with Walter within a group or couples he
has always treated everyone with the upmost respect. | don’t feel Walter is a danger to himself
or others.

Sincerely,

Craig LaCrosse

EXHIBIT 7
